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 4
                              UNITED STATES DISTRICT COURT
 5
                                   DISTRICT OF NEVADA
 6
                                             ***
 7                                           )
     UNITED STATES OF AMERICA,               )
 8                                           )
                     Plaintiff,              )              2:06-CR-00234-PMP-GWF
 9                                           )
     v.                                      )
10                                           )
     JONTHAN TOLIVER,                        )
11                                           )              ORDER
                     Defendant.              )
12                                           )
13            IT IS ORDERED that Plaintiff’s Unopposed Motion for Leave to File a Late
14   Response to Toliver’s Motion for Additional Discovery in Support of Amended Motion
15   Under 28 U.S.C. § 2255 (Doc. #715) is hereby GRANTED.
16

17   DATED: May 30, 2014
18                                             _______________________________
                                               PHILIP M. PRO
19                                             United States District Judge
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